                                                                                             Case 2:17-cv-01398-DJH Document 39 Filed 03/12/18 Page 1 of 2



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                 A limited liability partnership formed in the State of Delaware




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                                                                                   14
                                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                                   15
                                                                                                                   FOR THE DISTRICT OF ARIZONA
                                                                                   16
                                                                                        Jose Collucci,                                NO. CV-17-01398-PHX-DJH
                                                                                   17
                                                                                                            Plaintiff,
REED SMITH LLP




                                                                                   18                                                STIPULATION FOR
                                                                                              vs.                                    DISMISSAL OF M&T BANK
                                                                                   19                                                WITH PREJUDICE
                                                                                        M&T Bank, et al.,
                                                                                   20
                                                                                                            Defendants.
                                                                                   21
                                                                                   22
                                                                                   23
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                                                                                              Plaintiff Jose Collucci through his attorneys, Price Law Group, APC, and Defendant
                                                                                   25
                                                                                        M&T Bank, by and through its attorneys, Snell &Wilmer L.L.P., hereby stipulate to dismiss
                                                                                   26
                                                                                   27 M&T Bank with prejudice, with each party bearing its own attorneys’ fees, and costs. There
                                                                                   28 are no remaining Defendants in this action.
                                                                                             Case 2:17-cv-01398-DJH Document 39 Filed 03/12/18 Page 2 of 2



                                                                                    1         Respectfully submitted this 12th day of March 2018.
                                                                                    2
                                                                                    3                                                   PRICE LAW GROUP, APC

                                                                                    4                                                          /s/ David A. Chami
                                                                                                                                               David A. Chami
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                                                                                                                                               Attorneys for Plaintiff
                                                                                    6                                                          Jose Collucci
                                                                                    7
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                                                                                    9                                                          /s/ Carlie Tovrea
                                                                                                                                               Carlie Tovrea
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                                                                                                                                               Attorneys for Defendant
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                                                          M&T Bank
                                                                                   12
                                                                                   13
                                                                                   14
                                                                                                                     CERTIFICATE OF SERVICE
                                                                                   15
                                                                                   16         I hereby certify that on March 12, 2018, I electronically filed the foregoing with the

                                                                                   17 Clerk of the Court using the ECF system, for filing and transmittal of a Notice of Electronic
REED SMITH LLP




                                                                                   18
                                                                                        Filing and thereby served all registered CM/ECF case participants
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                                                                                   20 /s/ Florence Lirato
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